

1812 Lacombe Ave, LLC v NewRez LLC (2022 NY Slip Op 05261)





1812 Lacombe Ave, LLC v NewRez LLC


2022 NY Slip Op 05261


Decided on September 27, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 27, 2022

Before: Webber, J.P., Kern, Singh, Moulton, Shulman, JJ. 


Index No. 804120/21E Appeal No. 16262 Case No. 2022-00367 

[*1]1812 Lacombe Ave, LLC, Plaintiff-Respondent,
vNewRez LLC, Doing Business as Shellpoint Mortgage Servicing, Defendant-Appellant.


Akerman LLP, New York (Jordan M. Smith of counsel) for appellant.
Petroff Amshen LLP, Brooklyn (James Tierney of counsel), for respondent.



Order, Supreme Court, Bronx County (Elizabeth A. Taylor, J.), entered on or about January 20, 2022, which, in this action to quiet title, denied defendant's motion to dismiss the complaint with leave to renew, unanimously affirmed, without costs.
As there has been no final determination of a pending motion to vacate a June 2018 order dismissing a prior foreclosure action, it is premature to consider whether defendant, as successor-in-interest to the prior mortgagee, may commence a new foreclosure action under the savings clause of CPLR 205 (a) in the event the motion to
vacate is denied (see Ambac Assur. Corp. v Countrywide Home Loans Inc., 179 AD3d 518, 520 [1st Dept 2020]; Ali v Effron, 106 AD3d 560, 560 [1st Dept 2013]). 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 27, 2022








